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8
                                 IN THE UNITED STATES DISTRICT COURT
9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-92-JAM
12                                Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                            FINDINGS AND ORDER
14   WAYNE ARTHUR YORK II,                                DATE: September 10, 2019
     JUAN CARLOS MONTALBO                                 TIME: 9:15 a.m.
15                                                        COURT: Hon. John A. Mendez
                                  Defendants.
16

17
                                                STIPULATION
18
            1.     By previous order, this matter was set for status on September 10, 2019.
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            2.     By this stipulation, defendants now move to continue the status conference until October
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     22, 2019, and to exclude time between September 10, 2019, and October 22, 2019 at 9:15 a.m. under
21
     Local Code T4.
22
            3.     The parties agree and stipulate, and request that the Court find the following:
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                   a)      The government has represented that the discovery associated with this case
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            includes more than 100,000 pages, not including some particularly sensitive Jencks material that
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            will be made available before trial in the event of trial. All of this discovery has been either
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            produced directly to counsel and/or made available for inspection and copying with the
27
            exception of the particularly sensitive Jencks material.
28
                   b)      Counsel for defendant WAYNE YORK has represented that YORK anticipates

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 1          entering a guilty plea. However, defense counsel has two trials, one federal and one state,

 2          scheduled in the upcoming weeks that would prevent him from adequately preparing with

 3          defendant YORK for the change of plea or being present with his client during the change of

 4          plea if it is scheduled before October 22, 2019.

 5                  c)     Counsel for defendant JUAN CARLOS MONTALBO has requested to review

 6          some of the Jencks material referenced in Paragraph 3(a) above, and the government has agreed

 7          to provide that earlier than it normally would, anticipating being able to provide it in the week of

 8          September 9, 2019. Counsel for MONTALBO expects that with that review, MONTALBO will

 9          be in a position to either enter a change of plea or commit to setting trial dates on October 22,

10          2019.

11                  d)     Counsel for defendants believe that failure to grant the above-requested

12          continuance would deny them the reasonable time necessary for effective preparation, taking into

13          account the exercise of due diligence.

14                  e)     The government does not object to the continuance.

15                  f)     Based on the above-stated findings, the ends of justice served by continuing the

16          case as requested outweigh the interest of the public and the defendant in a trial within the

17          original date prescribed by the Speedy Trial Act.

18                  g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

19          et seq., within which trial must commence, the time period of September 10, 2019 to October 22,

20          2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

21          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

22          of the Court’s finding that the ends of justice served by taking such action outweigh the best

23          interest of the public and the defendant in a speedy trial.

24          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

25 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

26 must commence.

27          IT IS SO STIPULATED.

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       STIPULATION REGARDING EXCLUDABLE TIME              2
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     Dated: September 5, 2019                       MCGREGOR W. SCOTT
2                                                   United States Attorney
3                                                   /s/ MATTHEW G. MORRIS
                                                    MATTHEW G. MORRIS
4                                                   Assistant United States Attorney
5

6    Dated: September 5, 2019                       HEATHER WILLIAMS
                                                    Federal Defender
7
                                                    /s/ TIMOTHY ZINDEL (as authorized
8                                                   by email on 9/5/19)
                                                    TIMOTHY ZINDEL
9                                                   Counsel for Defendant
                                                    JUAN CARLOS MONTALBO
10

11   Dated: September 5, 2019                       /s/ CHRISTOPHER COSCA (as
                                                    authorized by email on 9/5/19)
12                                                  CHRISTOPHER COSCA
                                                    Counsel for Defendant
13                                                  WAYNE ARTHUR YORK II
14

15                                      FINDINGS AND ORDER
16        IT IS SO FOUND AND ORDERED this 5th day of September, 2019.
17
                                                   /s/ John A. Mendez
18                                             THE HONORABLE JOHN A. MENDEZ
                                               UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
